                                       Monday, November 7, 2022
Via E- Filing
Judge Lorna G. Schofield
United States District Court, Southern District of New York
Thurgood Marshall, United States Courthouse
40 Foley Square
New York, NY 10007

        Re:     Hye, Patrick v. The United States of America
                Docket No. 1:21-cv-06304
                Our File No.: 21-001199

Dear Judge Schofield:

        I represent the Plaintiff, Patrick Hye, in the aforementioned matter. I have conferred with my
adversaries, counsel for Defendant USA and Defendant Tanweer, and submit this letter with their consent.

        I am writing to request an extension of the fact discovery deadline in this matter from November
15, 2022 to January 15, 2023.

        The Plaintiff, Patrick Hye was deposed over two sessions on September 13, 2022 and September
28, 2022. He was unable to complete the first session due to rising pain levels, resulting in our continuing
his deposition with a second session a week later.

        The Plaintiff’s daughter, Karen Hye, took place today on November 7, 2022. Ms. Hye could not be
produced earlier as Ms. Hye was in the process of moving from the West Coast back to New Jersey and
was unavailable for deposition in October. We produced her as soon as she was settled in New Jersey and
available.

        Further, I have advised counsel for the Defendants USA and Tanweer that I wish to take the
depositions of Dr. James Stone, Dr. Peter Rozman, Dr. Alexander Beric and Dr. Omar Tanweer.
We are currently awaiting dates for those depositions.

         In view of the above, it is requested that fact discovery be extended through January 15, 2023 so
that the above depositions can be completed. I wish to advise the Court that I have a trial starting on
November 14, 2022 which will last through the end of November. Thus, I am requesting an extension of
fact discovery through January 15, 2023, so that we can schedule the Defendant Doctors’ depositions on
dates which are convenient to the physicians and their counsel while at the same time working around my
trial schedule.
       Thank you for your attention to this matter.


                                                Respectfully yours,



                                                Christina Ctorides

CC/ka
cc:   David Farber, Esq. (Via ECF)
      Rachel Bloom, Esq, (Via ECF)
